
79 So.3d 839 (2012)
J.T.R., A Child, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-3725.
District Court of Appeal of Florida, First District.
January 13, 2012.
*840 Nancy A. Daniels, Public Defender, and Steven L. Seliger, Assistant Public Defender, Tallahassee, for Appellant.
Pamela Jo Bondi, Attorney General, Angela R. Hensel and Donna A. Gerace, Assistant Attorneys General, Tallahassee, for Appellee.
PER CURIAM.
Appellant, J.T.R., a minor born in 1994, appeals a final disposition order wherein the trial court withheld adjudication and imposed probation for the offense of video voyeurism as proscribed in section 810.145(2)(a), Florida Statutes. Appellant contends that the trial court erred in denying his motion for judgment of dismissal filed pursuant to Florida Rule of Juvenile Procedure 8.110(k) because the State failed to establish that he secretly recorded the victim. See § 810.145(2)(a), Fla. Stat. (2010) (providing in part that a person is guilty of video voyeurism if he or she "[f]or his or her own amusement ... or for the purpose of degrading or abusing another person, intentionally uses or installs an imaging device to secretly view, broadcast, or record a person, without that person's knowledge and consent, who is dressing, undressing, or privately exposing the body, at a place and time when that person has a reasonable expectation of privacy").
We reject Appellant's argument. The victim, Appellant's classmate, who was sitting on a toilet in a bathroom stall at school, testified that Appellant had been standing at the stall door for five seconds before he looked up and saw Appellant's hand holding a cell phone over the stall door. Appellant admitted to videotaping the victim, and two other students testified to seeing the video. The testimony of one of those students indicated that the victim looked up at the camera after the recording began. Viewing the evidence and all reasonable inferences in the light most favorable to the State, as we must, we AFFIRM.
BENTON, C.J., DAVIS and MARSTILLER, JJ., concur.
